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United States District Court
Southern District of Illinois

 

ERIC D. WELCH
Petitioner,

vs. Case No.

D. SPROUL (WARDEN),
Respondent.

Nee ee

 

GROUND AND MEMORANDUM
IN SUPPORT OF PETITION UNDER 28 U.S.C. § 2241

 

Eric D. Welch appears pro se and petitions the Court under Title 28 of the
United States Code, Section 2241, on the Ground below, pursuant to the United
States Constitution, Amendment I (Free Speech), Amendment V (Due Process),
or Both, affecting how his sentence is being carried out.

Classification decisions prompted by disciplinary proceedings are
unconstitutional if they are done for unconstitutional reasons, such as retaliation
for exercise of First Amendment rights. The effect of retaliatory disciplinary
proceedings for exercising protected rights impelled the Administrative remedy
process set forth below. This was complete in this case on November 14, 2019.

The issue is ripe for review.
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Ground for Relief

Respondent’s Agents (BOP Employees) Engaged in Retaliation
Which Artificially Inflated Petitioner’s Custody/Classification Level
(classification change for unconstitutional reasons), Where Agent
Demonstrated an Improper Motivation (the agent was a defendant in
a lawsuit), Which Played a Substantial Part in the Agent Giving
Petitioner an Incident Report (“Shot”) for Trying to Pay a Court Fee
Through a Third-Party Citizen (petitioner was a witness and
potential class member against agent)

Facts

1. In December 2018, the First-Step Act was signed into law and promoted
empirically driven, evidence-based re-entry programs for federal inmates.
[FSA 2018].

2. Just prior to passage of FSA 2018, Petitioner Welch’s former case manager,
Aaron Deaton, had indicated to Welch that “you should start thinking about
what low-security prison you want to go, because your points will go low in
February.”

3. After Petitioner’s case manager changed (from Aaron Deaton, to Heath
Clark), Welch again verified that this was the situation, and was told by Clark
that his points “are at a spot where you should think about where you want
to go, but I’m not going to surprise you or anything. You have the right to

pick a spot that has a program you feel is something you could benefit from.”
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4, In the winter of 2019, Petitioner Welch requested participation and
enrollment information from the Religious Services Department at U.S.P. for
admission in the Life Connections Program. This is a faith-based, First-Step Act
approved re-entry course that is 18-months long and is empirically
established as successful in curbing recidivism. The low-security version is
available at the BOP prison in Milan, Michigan (the same state as Petitioner’s
release address, where his parents are located in Clifford, Michigan).

5. In November of 2019, both Case Manager Heath Clark, and Religious Services
Chaplain Steve Holem, told Petitioner that he was “all good to go on our end
for a transfer to Life Connections, but the shot you got in June of 2019 [the only
disciplinary report Welch ever received since beginning his sentence in 2010],
is stopping us from submitting your paperwork. The Life Connections Program
requires that you are ‘shot-free’ for 12 months prior to acceptance into the
program.”

6. The gist of the instant Petition is retaliation for involvement in a lawsuit
against the staff member who wrote or otherwise was involved in writing the
shot: Respondent’s agents (BOP employees uninvolved with inmate care)
issued Petitioner a “shot” (engaged in retaliation) for obscured reasons,
which artificially inflated his custody/classification level, demonstrating an

improper motivation (the agent was a defendant in a lawsuit), which played a
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substantial part in the agent giving petitioner an incident report for petitioner
trying to pay a court fee to the S.D. of Illinois.

7. For context, this Petition relies in part on the Facts section of a Complaint for
Damages filed in this Court:

a. James R. Kammeyer, Jr., Phillip Carrier, and All Inmates Housed at ULS.P.
Marion vs. William True (Warden), D. Stickles (Captain), Daniel Huggins
(S.1.S.), and the United States of America, 5.D. Ill., Case No. 3:19-cv-454.

b. That lawsuit was filed under Prison Mailbox Rule on April 25, 2019.
(Providentially the same day as the Catholic feast of St. Mark the
Evangelist, the patron saint of notaries and sworn signatures.)

c. That Complaint is fully adopted into this Petition as if set forth here,
including its attachments, and is referred to by this Petition in the same
manner as an exhibit citation, but by referencing the case number.

d. Courts may take “judicial notice” of facts which are “not subject to
reasonable dispute” because they are either “(1) generally known
within the territorial jurisdiction of the trial court or (2) capable of
accurate and ready determination by resort to sources whose accuracy
cannot reasonably be questioned.” Rule 201(b), Federal Rules of
Evidence.

8. Inbrief, during the last few days of March 2019, Respondent and
Respondent's agents (each acting in both official and individual capacities)
locked down U.S.P. Marion because staff had systemically failed to follow
BOP policy in administering (motor-skills assessment or other) field-sobriety
checks of inmates suspected of getting high (ingesting/smoking “K2”,
“Spice”, or industrial chemicals). Respondents permitted and even promoted

individual inmates to be free from responsibility for their own behavior via
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unwillingness or inability to have custody staff and medical staff work
together on these infractions.

The number of “high” inmates-per-day was estimated by staff and prisoner-
litigants to be approximately eight, every two to three days. [3:19-cv-454,
passim]. U.S.P. Marion houses approximately 1,120 inmates. [www.bop.gov].
Many of these intoxications were incidents repeated by the same individuals,
thus the actual number of those involved was a small fraction compared to
the overall inmate population.

U.S.P. Marion is a programming yard. It is listed or administered as both a
sex offender yard, as well as a gang “drop-out” yard, where inmates with
these types of former history may improve themselves in a less-political (i.e.
“safe”) environment. [See, “Allen Ellis Guide to Federal Prisons: 2018"; see also,
www.bop.gov].

During the lock-down, Respondent/Respondent Daniel Huggins assembled
several inmate leaders (“shot-callers”) and ordered the inmates to punish
other inmates suspected of being intoxicated. Subsequently, inmate Carrier
lost the use of his eye in a vendetta attack that occurred under the pretext of

drugs, where no drugs were involved. [3:19-cv-454, passim].
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It is uncontested that numerous individuals were viciously assaulted (or
assaulted others themselves) in a free-for-all coordinated by the Respondents.
[Id.]

Fifteen or more witnesses reported mass punishment of all inmates by
Respondent and Respondent's agents. Inmate property was forcibly
discarded without regard to involvement in drugs or any other disciplinary
proceeding. Several hundred thousand dollars of government and inmate
property (e.g. microwaves and textbooks) were destroyed in this manner
during the April 2019 lockdown. [lId.]

During this time and immediately after lockdown (mid-April), sworn
affidavits attest to the fact that Respondent's agents said in order for mass
punishment to be lifted, inmates were to take matters into their own hands
and assault one another with impunity if intoxicants were suspected. These
directions were always verbal with witnessing inmates later writing
affidavits. Other than the surreptitious conversations immortalized in the
affidavits, no further training was given to inmates in how to identify those
needing “punishment”. [Id.]

Petitioner Eric Welch (and inmate James Kammeyer), in conversation with
inmates Thomas Attebury and Carlton Miller agreed that in order to make

payment to the court in a lawsuit most effective, any inmate (who had the
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means) would send a portion of the court's filing fee to a Jeannie Kranendonk
(inmate Kammeyer’s sister), who would then pay the court directly and
completely. [Exhibits G, H, I, J].

On Sunday, April 28, 2019 Petitioner Welch requested that the BOP release
$110 to Jeannie Kranendonk. That request was processed by the prison on

May 2, 2019. [Exhibit G].

17. Shortly afterward (within a day), inmate Kammeyer became very sick with a

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combination of the flu and his recurring Chrohn’s Disease, exacerbated by
panic attacks caused by the recent inmate-inmate violence promoted by staff.
[Exhibits G, H, IT].

On or about April 29, 2019, unbeknownst to Petitioner Welch, inmate
Kammeyer (in this delirious state), paid both the entire fee to the court and
sent a confusing email to Ms. Kranendonk, indicating “My friends name is Eric.
I'm not sure how much he is going to send, but said he will send it out soon, now that
he has your address.” [Exhibit F].

On May 9, 2019, Kammeyer’s confusing (“J’m not sure”) communication with
Ms. Kranendonk prompted her reply to Kammeyer: “I got a check from Eric
today in the mail. It says at the bottom, ‘Happy St. Mark's day, Jimmy Jr...’ not sure
what that means, really.”

a. In context, St. Mark’s day is April 25, the day the lawsuit was filed in
the S.D. of Illinois (Prison Mailbox Rule) and was a poetic reference
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shared amongst those at U.S.P. Marion for the grave offenses against
human dignity manifested by Respondent’s agent Huggins and others,
filed on the same day as the patron saint of Notaries and Sworn
Signatures.

b. “Jimmy Jr.” refers to the lead petitioner in the caption of the class action
law suit [3:19-cv-454], because Welch at the time did not have the case
number (but did have the parties names) to put in the memo field of
his check to Ms. Kranendonk.

c. Mr. Welch believed she already knew to send the money to the court,
and had no idea she was confused about sending money anywhere
else. [Exhibits G, H, I, J].

d. She went on to say “I will have to go online and send the money to you
tonight or if I can’t get to it, I will do it when I get home on Sunday night.”
[Exhibit F].

The emails between Kammeyer and Kranendonk did not include Welch, and
did not indicate the same understanding shared by Welch, as verified by
several direct eye-witnesses to the surrounding conversations. Later,
Kammeyer took full responsibility for his state of mind and the misdirection
it caused in the Joint Verified Statement. [Exhibit G].

There were no hard feelings amongst the inmates (Welch, Kammeyer,

Attebury, Miller), because of the importance of seeing the lawsuit take off.

. Two and a half weeks after the lawsuit was filed, on Sunday, May 12, 2019,

Respondent’s agent Huggins commanded Welch present himself to the
Lieutenant’s office. Events are described in the attached “Joint Verified

Statement of James Kammeyer and Eric Welch.”
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In that meeting, Huggins (the Respondent’s agent at bar and a named
defendant on the law suit) interviewed Welch, threatening him with two
shots, and kept bringing up the “lawsuit” but Welch did not answer,
considering Witness Tampering an illegal act. [Exhibit G] .

One day later, on May 13, 2019, Respondent’s agent Huggins presented
Welch with an incident report. That incident report charged Welch with
prohibited conduct code 217A: “Giving money to, or receiving money from,
any person for the purpose of any other prohibited purpose.” [Exhibit F].

On May 14, 2019, Thomas Attebury, a witness to the conversations
contemporaneous to the events, signed a sworn affidavit chronicling the
manner in which payments were to be sent to the S.D. of Illinois (i.e. through
Ms. Kranendonk and that is in fact what Welch believed when he sent her the
funds, [Exhibit H] .

On May 15, 2019, Welch and Kammeyer authored a “Joint Verified
Statement” chronicling the actual facts they mutually understood to be true,
in that Welch believed Mr. Kranendonk would send the money to the court.
Petitioner was unaware of statements Kammeyer made to Kranendonk about
sending money elsewhere, but only knew it to go to the court. [Exhibit G] .
On May 15, 2019, Carlton Miller, another witness to the conversations

contemporaneous to the events, signed a sworn affidavit chronicling the
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manner in which payments were to be sent to the S.D. of Illinois for the
lawsuit through Ms. Kranendonk and that is in fact what Welch believed
when he sent her the funds. [Exhibit I]. Ultimately, it was revealed that
Kammeyer had paid the court fee himself while in his reduced state of health
and Petitioner did not know this at the time of his disbursement.

28. On May 19, 2019, Welch sent an email to Mr. Shannon Wallace, the
Disciplinary Hearing Officer (“DHO”). [Exhibit J] . In that email, Welch
repeated the “Joint Verified Statement,” and also shared that he had tried to
submit his statement to the Unit Disciplinary Committee (“UDC”) but they
refused to accept it.

29. Welch’s email highlighted the following:

a. That there were no facts from Welch (email, phone call, or other
document) about asking Kranendonk to send money to inmate

Kammeyer, but rather symbolically referenced the filing date of the
case (St. Mark’s Day) and the lead plaintiff's name Jimmy Jr.)

b. That Respondent's agent’s inference about Welch’s knowing
transference of money to Kranendonk, would require more than
Kammeyer’s own admittedly misdirected email.

c. That poor communication on another person’s part does not create a
money-laundering conspiracy.

30. On June 21, 2019, DHO reduced the “shot” from a 217A, to a 328A:
Attempted giving money or anything of value to, or accepting money or

anything of value from, another inmate or any other person without staff

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authorization. In short, the BOP’s position on the issue had changed.
[Exhibit E].
At that June 21, 2019 DHO hearing, staff representative Mr. Kalen Miles
spoke on behalf of Petitioner Welch, saying “working with Welch, he is very
legal savvy and I don’t see him intentionally doing something like this. I
don’t see him intentionally transferring money in a traceable manner. He’s
been in UNICOR for 8 years.” [Exhibit E at {II(C)].
Petitioner appealed the incident report to BOP’s North Central Regional
Office, because of its retaliatory nature affecting his custody/classification
level and ultimate approval time for participation in the Life Connections
Program. [Exhibit B, D].
North Central Regional Office (“NCRO”) denied the appeal because they
thought Petitioner Welch was “now claiming the money was for filing fees for
a joint lawsuit against the institution[.]” (Emphasis added). The mistaken
insinuation by NCRO was that the legal filing fee was a later addition.

a. NCRO apparently assumed that the lawsuit fee was an afterthought,

even though testimony prior to the D.H.O. hearing (and contained in

the April 25 lawsuit itself with Welch’s affidavit) demonstrated
otherwise; and

b. NCRO misstated the facts: Welch had always stated the money was for

a lawsuit (although not a “joint” lawsuit, but rather a potential “class
action”). [Exhibit G, H, I, J].

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34. Petitioner appealed the Regional denial to the BOP’s Central Office “National
Inmate Appeals” because the BOP’s position had changed and because the
punishment was improperly motivated (mentioning the lawsuit against the
person(s) who wrote the shot). [Exhibit B].

35. On November 14, 2019, the BOP’s position changed again to a nonspecific,
bland conclusion by Central Office: “[due to] the evidence detailed in Section
V of the DHO report,” the appeal was denied. [Exhibit A].

a. The appeal response did not address that punishment for paying a
portion of a lawsuit to the court “blocking my Life Connections
Program Transfer”. [Compare Exhibit A, with Exhibit B];

b. The appeal response did not address the time sequence of events
that Region got backward. Did not address the improper inference
of finding Welch guilty of sending money where the eye-witnesses
testified it was “for the court” and the shot was written by a
defendant on that lawsuit. [Compare Exhibit A, with Exhibit B];

c. The appeal response did not address that another staff member
familiar with Petitioner testified that Welch was legal savvy and
would not have intentionally sent money to Kammeyer through
Kranendonk, harmonizing with the inmate affidavits; and

d. The appeal response did not address that the misdirected funds
were stopped by Ms. Kranendonk (and never sent to Kammeyer)
due to the mistake of communication which Kammeyer admitted
under oath.

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Discussion of Law and Standards

The right of access to courts is a very important right, since it theoretically
protects all of an inmate’s rights. McCarthy v. Madigan, 503 U.S. 140, 153 (1992)
(Because a prisoner is ordinarily divested of the privilege to vote, the right to file
a court action might be said to be his remaining most fundamental political right,
because it is preservative of all rights.) This right extends to all categories of
prisoners and it is supposed to be “adequate, effective, and meaningful.” Bounds
v. Smith, 430 U.S. 817, 822 (1977). Prison officials are prohibited from retaliating
against inmates who access the courts.

Retaliation claims are brought when prison officials retaliate against prisoners
who brought (or tried to bring) legal actions. To state a retaliation claim
Petitioner must allege (1) that the speech or conduct at issue was protected, (2)
that the respondent took adverse action against the petitioner, and (3) that there
was a causal connection between the protected speech and the adverse action.
Espinal v. Goord, 558 F.3d 119, 128 (2d Cir. 2009); accord, Thaddeus-X v. Blatter, 175
F.3d 378, 394 (6" Cir. 1999) (en banc).

Classification decisions are unconstitutional if they are done for
unconstitutional reasons, such as retaliation for exercise of First Amendment
rights, or racial, religious, or political discrimination. Lucien v. DeTella, 141 F.3d

773, 774 (7" Cir. 1998); Koch v. Lewis, 399 F.3d 1099 (9" Cir. 2005) (classification as

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a gang member based on flimsy and outdated evidence after petitioner won
lawsuits against prison officials established a prima facia case of retaliation).
Claims that prisoners have been disciplined or transferred in retaliation for
lawsuits or other constitutionally protected conduct must often be proven by
inferences from the time sequence of the prisoner’s and the prison officials’
actions. At minimum, Petitioner should allege “a chronology of events from

which retaliation may plausibly be inferred.” Cain v. Lane, 857 F.2d 1139, 1143

n.6 (7" Cir. 1988). This is likely governed by the “reasonable relationship”
standard, which lets officials discipline inmates as long as they are reasonably
related to legitimate penological interests. Lewis v. Casey, 518 U.S. 343, 361-362
(1996) (citing Turner v. Safley, 482 U.S. 78 (1987).) That means that even if an
official’s actions harm the prisoner, they do not violate the right of court access if
they are reasonably related to legitimate ends. Id. The time sequence of Welch’s
protected activity and the adverse action by those on the business end of a
lawsuit is one possible factual scenario for believing that the adverse action taken
was done for retaliatory reasons and not for a legitimate correctional purpose.
Prison officials may not retaliate against prisoners for using the courts or
trying to do so, whatever the form of the retaliation. DeTomaso v. McGinnis, 970
F.2d 211, 214 (7" Cir. 1992) (“whether the retaliation takes the form of property or

privileges does not matter”) (dictum). Respondent covertly retaliated against

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Petitioner with false disciplinary charges. The major factual issue is what the real
reasons for those actions were.

Unconstitutional retaliation may be remedied by an injunction, even if the
retaliation was not formally part of official policy. Gomez v. Vernon, 255 F.2d
1118, 1127, 1129-30 (9" Cir. 2001); Ruiz v. Estelle, 679 F.2d 1115, 1154 (5™ Cir.
1982).

To support a retaliation claim, adverse action must be sufficient to deter or
“chill” a person of “ordinary firmness” In the exercise of constitutional rights.
Morris v. Powell, 449 F.3d 682, 685-86 (5" Cir. 2006) (describing “ordinary
firmness” rule as a “de minimis standard”).

Prisoners do not have to show that they were actually deterred from
exercising their rights; if that were the law, the fact that a prisoner kept
complaining or filed suit about the retaliation would defeat the claim. Espinal v.
Goord, 558 F.3d 119, 128 n.7 (2 Cir. 2009).

The question whether a particular action would deter a person of ordinary
firmness is an objective one and does not depend on how a particular petitioner
reacts; the question is whether the respondent's actions are capable of deterring a
person of ordinary firmness. Bell v. Johnson, 308 F.3d 594, 605-06 (6" Cir. 2002).
Adverse action(s) need not independently violate the Constitution to support a

retaliation claim. Hoskins v. Kenear, 395 F.3d 372, 375 (7" Cir. 2005); DeWalt v.

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Carter, 224 £.3d 607, 618 (7" Cir. 2000) (citing Babcock v. White, 102 F.3d 267, 275

(7" Cir. 1996)); Zimmerman v. Tribble, 226 F.3d 568, 573 (7 Cir. 2000) (allegation
that petitioner was excluded from the law library in retaliation for his complaints
did not state a claim of denial of access to courts, but did state a retaliation
claim). Nor need the retaliation impose “atypical and significant hardship on the
inmate in relation to the ordinary incidents of prison life” as is required to
support a claim of deprivation of liberty denying due process. Sandin v. Conner,
515 US. 472, 484 (1995); Scott v. Churchill, 377 F.3d 565, 567, 569 (6™ Cir. 2004)
(holding retaliation claim could go forward based on disciplinary charges, even
those that were dismissed. At bar, this implies an even lower burden than
Petitioner Welch has to prove since his disciplinary charges remaining are one
basis for this petition.)

Among the actions that courts have found sufficiently adverse to support a

retaliation claim are the filing of false disciplinary charges [Austin v. Terhune, 367
F.3d 1167, 1170-71 (9" Cir. 2004); Milhouse v. Carlson, 652 F.2d 371, 373 (3 Cir.

1981)]; unfavorable classification [Madewell v. Roberts, 909 F.2d 1203, 1206 (8" Cir.
1990) (blocking reclassification opportunities); Purcell v. Coughlin, 790 F.2d 263,

265 (2™ Cir. 1986) (classification)].
Some courts have held that a retaliation Petitioner must prove that “but for”

the retaliation, the adverse action would not have occurred, but that is not the

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case in our circuit. Like the Seventh Circuit, most courts have held that the
petitioner need only show that protected speech was a “motivating factor” for
retaliation, at which point the burden of proof shifts and the Respondent, who
must show that the adverse action would have been taken anyway. Hasan v. U.S.

Dep’t of Labor, 400 F.3d 1001, 1006 (7" Cir. 2005); accord, Scott v. Coughlin, 344 F.3d

282, 287-88 (2 Cir. 2003 ) (petitioner must show “improper motivation” played a
“substantial part” in respondent's decision).

This “burden-shifting” rule is the rule in retaliation cases involving
employment. Mt. Healthy City School District Board of Education v. Doyle, 429 US.
274, 287 (1977). The Seventh Circuit in Hasan, above, said: “We cannot think of a
reason why a stricter standard for proof of causation should apply when the
petitioner is a prisoner rather than an employee. A prisoner has less freedom of
speech than a free person, but less is not zero, and if he is a victim of retaliation
for the exercise of what free speech he does have, he should have the same right
to a remedy as his free counterpart.” Hasan, 400 F.3d at 1006.

Petitioner must produce evidence that the adverse action was in fact done for
retaliatory reasons. Richardson v. McDonnell, 841 F.2d 120, 122-23 (5" Cir. 1988).
Such evidence may be direct, such as statements by prison officials or staff
indicating their motive for taking the adverse action, or Petitioner's own sworn

statements based on personal knowledge, or those of other prisoners, recounting

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facts (not suspicions or guesses) that support the claim of retaliatory motive.
Mays v. Springborn, 575 F.3d 643, 650 (7" Cir. 2009).

Often there is no direct evidence, so prisoners must rely on circumstantial
evidence. Bennett v. Goord, 343 F.3d 133, 138-39 (2°? Cir. 2003) (direct evidence of
retaliatory motive is not required where circumstantial evidence is sufficiently
compelling). Types of evidence that have been found to support retaliation
claims include the suspicious timing of adverse action shortly after the prisoner
has made complaints or filed grievances. Mays v. Springborn, 575 F.3d at 650
(commencement of more onerous searches immediately after petitioner
complained of searches); Espinal v. Goord, 558 F.3d 119, 129 (2"4 Cir. 2009)
(passage of six months between lawsuit and beating by officers including one of
the respondents supported an inference of causation); see also, Harris v. Fleming,
839 F.2d 1232, 1236-38 (7" Cir. 1988). Other types of evidence that have been
found to support retaliation claims include the adverse action that is based on
flimsy or suspect evidence. Bruce v. YIst, 351 F.3d 1283, 1288 9" (Cir. 2003).

The fact that there is “some evidence” to support adverse action does not
automatically mean it was not retaliatory. (The adverse action at bar was writing
Petitioner a shot which inflated his custody/classification and excluded him from
programming, for his paying a court fee to a third party without staff assistance).

See, Bruce, above; Hines v. Gomez, 108 F.3d 265, 268-69 (9" Cir. 1997).

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Only one federal circuit has taken the opposite position. See, Moots v.

Lombardi, 453 F.3d 1020, 1023 (8'" Cir. 2006) (“conduct violations cannot be
deemed retaliatory when they were issued for actual violations of prison rules”;
if a respondent shows there was some evidence of the infraction, claim of
retaliation is barred. The mere fact that officials show Petitioner committed an
offense for which he was disciplined will generally meet Respondent's burden of
proof to show that their actions were not retaliatory. Gayle v. Gonyea, 313 F.3d
677, 682 (2"* Cir. 2002) (holding that officials can defeat a retaliation claim by
showing it is undisputed that the petitioner “committed the most serious, if not
all, of the prohibited conduct charged in the misbehavior report”).

But by contrast here, the Respondent will still need to overcome the time
sequence of events and eyewitness testimony of four sworn witnesses
contradicting the perfunctory denial of expungement of the “shot.” See the
Seventh Circuit decisions of Hoskins, DeWalt, Babcock, above. They also face
explaining away the deeply personal involvement of a defendant on the lawsuit

involved in writing the shot to begin with.

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Argument

Petitioner engaged in constitutionally protected conduct when he filed
support in a lawsuit (an affidavit of factual observations, as a potential class
member, and assisted with the filing fee as a potential class member). The
lawsuit was against, among others, the Respondent's agent(s) who wrote a
disciplinary incident report against Petitioner.

Respondent's shot directed at Petitioner had improper motivation which
played a substantial part in inflating Petitioner’s custody/classification level and
outweighs any legitimate penological interest. “Getting back” at inmates
accessing the court (i.e. paying a joint filing fee) is a constitutional concern.

The findings of DHO and subsequent appeal answers by the BOP
administrative staff shifted positions over time, and failed to address the greater
weight of the evidence proving Welch had no idea that sending money to the
court through one individual, would be thwarted by a poor communication
between two other people with whom Petitioner was not privy to their private
talks.

As such, Respondent’s Agents (BOP Employees) Engaged in Retaliation
Which Artificially Inflated Petitioner’s Custody/Classification Level (classification
change for unconstitutional reasons), Where Agent Demonstrated an Improper

Motivation (the Agent was a Defendant in a Lawsuit), Which Played a Substantial

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Part in the Agent Giving Petitioner an Incident Report (“Shot”) for Petitioner
Trying to Pay a Court Fee (in which petitioner was a witness and potential class

member against agent).

Conclusion and Relief Requested

1. Petitioner prays that the court vacate the Incident Report(s) of any
Prohibited Act Code(s) mentioned or implied above as retaliatory action
by prison officials (who were either named defendants in a lawsuit prior
to the incident report being written, or whose involvement as moral

agents were immortalized in the inmate witness affidavits);

2. Declare that artificially inflating Petitioner’s custody/classification level
(and subsequent delay or disqualification from the Life Connections
Program, any other programming, treatment, and supervised release

considerations), violates the First Amendment, the Fifth Amendment, or

 

 

Both.
bbcem bg: i ZOIF /s/ Zo) LDH
Date Executed Eric D. Welch, pro se
Under penalty of perjury pursuant to Paralegal
28 U.S.C. § 1746, I hereby swear and verify 10444-089
that the foregoing is true and correct as an affidavit P.O. Box 1000
in the Facts set forth; Further, that it has been deposited Marion, IL 62959

this day via Prison Mailbox Rule in the institution’s
internal mail systems designed for legal mail, United
States Postal Service, first-class postage prepaid.

Al
Exhibit A:

Exhibit B:

Exhibit C:

Exhibit D:

Exhibit E:

Exhibit F:

Exhibit G:

Exhibit H:

Exhibit I:

Exhibit J:

 

Table of Exhibits

BP-11 Denial

BP-11 APPEAL
BP-10 DENIAL
BP-10

DHO REPORT
INCIDENT REPORT

MAY 15, JOINT VERIFIED STATEMENT OF INMATES KAMMEYER
AND WELCH

MAY 14, VERIFIED STATEMENT OF INMATE THOMAS ATTEBURY
MAY 15, VERIFIED STATEMENT OF INMATE CARLTON MILLER

MAY 19, EMAIL FROM WELCH TO DHO OFFICER WALLACE
Case 3:19-cv-01344-SMY Document 1-1 Filed 12/10/19 Page 23 of 41 Page ID #32

ERIC DEXTER WELCH, 10444-089

MARION USP UNT: UM EAST QTR: B03-015L
P.O. BOX 2000 '
MARION, IL 62959

 

:
Lua § Exhibit A: BP-11 Denial
Case 3:19-cv-01344-SMY Document 1-1 Filed 12/10/19 Page 240f41 Page ID #33

Administrative Remedy No. 984472-Al
Part B - Response

You appeal the June 21, 2019, decision of the Discipline Hearing
Officer (DHO) regarding incident report #3255949 in which you were
found to have committed the prohibited act of Giving Money or Anything
of Value to, or Accepting Money or Anything of Value from, Another
Inmate or Any Other Person withoéut Staff Authorization - Attempted
{Code 328A). For relief, you request the incident report be
expunged.

Our review of your disciplinary proceedings indicates compliance
with Program Statement 5270.09, Inmate Discipline Program. The
DHO’s decision was based upon the evidence detailed in Section V of
the DHO report. We find the determination of the DHO is reasonable
and supported by the evidence. Your Due Process rights were upheld
during the discipline process. The sanctions imposed were
commensurate to the severity level of the offense committed and in
compliance with policy.

Accordingly, your appeal is denied.

LAVAL

Date Ian Connors, Administrator
National Inmate Appealsy .

 

Exhibit A: BP-11 Denial
 

 

 

 

Part A- REASONEOI
This appeals Regio

 

 

ORIGINAL: RETURN TO INM:

~ “AsrTUTION

    
  
  
 
 
 
 
 
 
 
  

«Ri. fae “3255949). Alt my ‘Filings are adopted

4 ‘t support your. defense."
dupe or not -- into this charge. I know the
f ty: to pay the court fee had I known

Bit F- in ‘the Class Action
is a timeline here. I've
| fe Life Connections

   

 

“SIGNATURE OR REQUESTER

 
 
 
 
   
   
    
 

RECEIVED
SEP'11 2019

_. Administrative: Remady Seotion
‘Federal: ‘Bureaer PHSOnB

 

"GENERAL COUNSEL

 

: CASENUMBER: _. 7IYY 7Z-AS

" CASE’NUMBER:
x‘

 

“== REG:NO. “UNIT INSTITUTION

 

DATE
UPN LVN

  

 

 

 

SIGNATURE OF Son FR CENTDAT ABRIFE ABPEAT
. Exhibit B: BP-11 APPEAL
Case 3:19-cv-01344-SMY Document 1-1 Filed 12/10/19 Page 26 o0f 41 Page ID #35

ERIC DEXTER WELCH, 10444-089

MARION USP UNT: UM EAST QTR: BO3-015L
P.O, BOX 2000

MARION, IL 62959

EGEIVE
AUG AB 2019

BY:
Exhibit C: BP-10 DENIAL
 

U.S. Department of Justice
Federal Bureau of Prisons Regional Administrative Remedy Appeal

North Central Regional Office Part B - Response

   

984472-R1

Administrative Remedy Number:

 

This is in response to your Regional Administrative Remedy Appeal received on July 11, 2019,
regarding the decision of the Discipline Hearing Officer (DHO). You were found to have committed
the prohibited act of Code #328(A), Giving or Receiving Anything of Value (Attempted). You appeal
this decision stating you sent money to a third party, whom was not an inmate, for legal fees. You
state staff have made an inference, which is not evidence you committed the prohibited act. You ~.

request the incident report be expunged.

The DHO considered the reporting officer’s documented report, your written statements presented,
the testimony of your witnesses, supporting documentation, and your defense. It is documented you
sent money to an inmate's sister. Email conversations from the inmate to his sister indicate you were
helping him out by sending money. While you and the other inmate are now claiming the money was
for filing fees for a joint lawsuit against the institution, the evidence does not support your defense.
The DHO sufficiently explained why the greater weight of the evidence supports the charge. The
discipline process was conducted in accordance with Program Statement 5270.09, Inmate Discipline

Program.

Based on the above information, your Regional Administrative Remedy Appeal is denied.

If you are dissatisfied with this response, you may appeal to the Office of General Counsel, Federal
Bureau of Prisons, 320 First Street, NW, Washington, DC 20534. Your appeal must be received in the
Office of General Counsel within 30 days from the date of this response.

67/4) pipbede:

E. Krueger, Regional Director

Exhibit C: BP-10 DENIAL
Case 3:19-cv-01344-SMY Document 1-1 Filed 12/10/19 Page 28 of 41 Page ID #37

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soil vem «cert Reel vee 2,3 BE30 ODO 0956 78) cena

29(13) including any attachments must he submitted

US. Department of Justice

Accepted as henely

Federal Burvau of Prisons (esa

 
       

  

ean PER ans

Type or use ball-point pen. [C attachments are needed, submit four copics One copy of the completed BP-2

with this appeal. .
From: ERIc D, (2444 -08F B USP Maren
LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION
Part 4 - REASON FOR APPEAL ' ;
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/ . vilh He undersfanden (. L, me) Hak 1% well be eoutrrbubecd fo te cose
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at Leth. Ue toad Dd. [See attuched ), farther Gn ews bt
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his aw intake, ny Shel shat be Lemeciged Gnd Ma Kusrncpers veduceol

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DATE / SIGNATURE OF REQUESTER

Part B - RESPONSE

Suite Stodencat A xy

evidence -
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REGIONAL DIRECTOR

 

 

 

DATE
If dissatistied with this response. you may appeal to the General Counsel. Your appeal must be received in the Genecal Counsel's Office within 30 calendar
days of the date of this response.
ORIGINAL: RETURN TO INMATE CASE NUMBER:
Part C - RECEIPT

CASE NUMBER:
Return to: .
LAST NAME. FIRST. MIDDLE INITIAL REG. NO. UNIT INSTITUTION

SUBJECT:

DATE @ SIGNATURE RECiExXhibit D: BP-10

CTA Mes OO Le JBN anne

IPN iw

 
Case 3:19-cv-01344-SMY Document 1-1 Filed 12/10/19 Page 29 0f 41 Page ID #38

 

 

 

 

a BAO DISCIPLINE HEARING OFFICER REPORT
JAN 17
- US. DEPARTMENT OF JUSTICE FEDERAL BUREAU PRISONS
Institution: USP Marion Ingident Report number: 3255949
NAME OF INMATE: WELCH! Exic REG. NO.: 10444-089 JUNIT: EAST
Date of Incident Report: 5-2-2019 Offense Code: 217A

 

 

 

Date of Incident: 5-2-2019
Summary of Charges: Attempted Giving money to, ox receiving money from, any. pexson for the purpose

of introducing contraband or any other illegal or prohibited purpose.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

I. NOTICE OF CHARGE (S) .

A. Advanced written notice of charge (copy of Incident Report) was given to inmate on (date}
5-13-2019 | at (time) 7:20 BM, (by staf£ member} Lt. Huggins (Acting) .

B. The DHO Hearing was held on (date) 6-21~2019 _. at (time) _.9:08 A.M. .
Cc. The inmate was advised of the rights before the DHO by (staff member) :
Counselor Thompson _ on (date) 5-15-2019 and copy of the advisement of rights form is
attached, j

II, STAFF REPRESENTATIVE
A. Inmate waived right to staff representative. Yes No xX
B. Inmate requested staff representative and UNICOR Miles appeared.
C. Staff Representative statement: Miles served as the Inmate’s Staff Representative. Both
tha Staff Representative and Inmate agreed that thay had met and wera ready to proceed with
tha hearing. The Staff Representative has reviewed the paperwork and confirmed that this
Inmate's due process rights have bean afforded and stated, working with Walch, he is vary
legal savvy and,)I don’t see him intentionally doing something like this. I don’t see him
intentionally transferring money in a traceable manner, He's been in UNICOR for 8 yaars.
BD. Requested staff representative declined or could not appear but inmate was advised of
option to postpone hearing to obtain another staff representative with the result that: (New
Staff Representative Name} N/A __. _. was selected.
E. Staff representative N/A was appointed.

III. PRESENTATION OF EVIDENCE

 

A. Inmate ladmits) x (denies) (neither) the charge(s).

B. Summary of inmate statement: Woe are plaintiffs in a case and gave her money to pay the
courts. There was a mix-up and she was going to give us our money back because it was paid
twice. Inmate submitted a Written Statement as well.

C. Witnesses: I
1. Inmate waived right to witness. Yes No__X

2. The following persons were called as witness at this hearing and appeared (Each witness
name and statement listed below): MILLER 442116-044; Back in April, following a bunch of
instances where! we were locked down for nine days, a lawsuit was filed. Welch sent
Kammeyer’s sister the money for the filing fee along with Kammeyer’s to keep. things simple
for the courts.| Thee was. some miscommunication and the filing fes was already paid. Mr
Welch's filing fee was supposed to go to tha courts, not baok to Kammoyer. ,
ATTERBERRY #64284-097; Welch is in my Unit, we talked about the suit and he was going to
send her the money and she file it with the court. Kammeyer misunderstood from my
understanding and Ms. Kramendonk was confused about who to send the money back to. The

 

 

_ intent was to make stire the filing fee was paid, Yt was a mistake.

3. The followint persons requested were not called for the reason(s) given (Each witness
name and statement listed below): N/A : .

4. Unavailable witnesses were requested to submit written statements and those statements
received were considered (Each witness name and statement listed below). N/A

ee ene

1
Exhibit E: DHO REPORT
Case 3:19-cv-01344-SMY Document 1-1 Filed 12/10/19 Page 30 of 41 Page ID #39

BP-A0304 DISCIPLINE HEARING OFFICER REPORT ts
JAN 17 .
- U.S, DEPARTMENT OF JUSTICE FEDERAL BUREAU PRISONS

 

 

t
Name of Inmate: WELCH, Erle | Reg. No.: 10444-089 _, |_Hearing Date: 6-21-2019

D. Documentary Evidence: In addition to the Incident Report and Investigation, the DHO
considered the following documents: ALL Evidence Used by the DHO is Listed in Section V.
E. Confidential |information was used by DHO in support of his findings, but was not revealed
to the inmate. |The confidential information was documented in a separate report. The
confidential information has been (confidential informants have been) determined to be
reliable because: N/A .

 

IV. FINDINGS OF THE| DHO .
. C. No prohibited act was committed:
____ A. The was committed as charged. Expunge according to Inmate Discipline PS.

x B. The following act was committed:

 
   
   

to

t
Vv. SPECLFIC EVIDENCE RELIED ON TO SUPPORT FINDINGS (Physical evidence, observations,
written documents, etc.):
The inmate’s. due process rights were reviewed by the DHO, during the hearing. The inmate stated he
understood his rights /and did not submit any documentary evidence. He confixmed he did request a
witnesses and did request a staff representative during the DHO hearing all of which were present.

As stated in the Incident Report between May 12, 2019 and May 13, 2019, the SIS Office conducted a
review of the financial transactions of inmates Kammeyer, James, reg. No. 20118-081 and Welch,
Eric, Reg. No. 10444-0089. During the course of this review the following was discovered: On May 2,
2019, inmate Welch sent $110.00 to Ms. Jeannie Krankendonk of Bluffdale, Utah. Ms. Krankendonk
appears on the visiting list of inmate Kammeyer, and is listed as his siser. On May 12, 20195, at
approximately 7:10 p.m., and 7:20 p.m., respectively, inmates Welch and Kammeyer were interviewed
in the LT’s Office. Welch submitted a written statement that Ms. Krankendonk was a member of the
Orthodox Church who performs charity work for “St, Marks”, and that he met her through a volunteer
who visited USP Marion several years ago. He stated that based on her charity work, he “decided to
give a donation”. In |this statement he also claimed to have only recentiy discovered Ms.
Krankendonk was related to an inmate at USP Marion. . During the second interview, inmate Kammeyer
stated that he had recently given the name and address of his sister to inmate Welch, so that
inmate Welch could send him money to assist him in paying legal fees for an ongoing couxt case. A
subsequent review of inmate Kammeyer emails revealed that he both sent and received several emails
from Ms. Krankendonk yegarding the money transaction. Of note were the following : On April 29,
2019, Kammeyer sent the following, “My friends name is Eric. I'm not sure how much he is going to
send, but said’he willl sent it out soon, now that he has your address.” On May 9, 2019, Ms.
Krankendonk sent the following, “I got a check from Eric today in the mail. It says at the bottom,
“Happy St. Mark's Day,| Jimmy Jr..” not sure what that means, really. JI will have to go online and
send the money to you |jtonight ox if I can’t get to it, IT will do it when [I get home on Sunday
night. Who is this friend, anyways? I feel like I asked, but don’t recall you tell me who he is.
Awesome of him to do this to help you, whoever he is.” And finally on May 13, 2019, Kammeyer sent
“guess that having my jfriend send you money was against the rules..guess it is against the rules
for inmates to help each other out financially, even if it is for legal stuff.

The DHO considered your statement during the Investigation stating, “See Attached”.

The DHO considered you statement during the UDC, “I sent money Mrs. Krankendonk to send directly
te the court, I had no idea she was going to send. it to her brother”.

The DHO considered your witness statements as documented in Section III. C. 2.
The DHO considered the statement from your staff representative as documented in Section II. C.

The DHO considered your statement as documented in Section III. B.

 

After careful consideration, the DHO found you committed the prohibited act of Code 328A: Giving or
accepting money or anything of value in a correctional setting, not Code 217A. Based on the
greater weight of the(evidence as presented above. Specifically, section 11 of the incident report

where staff shows emails from inmate Kammeyer to Ms. Krankendonk about money you sent. Based upon

         

Exhibit E: DHO REPORT

 
Case 3:19-cv-01344-SMY Document 1-1 Filed 12/10/19 Page 310f 41 Page ID #40

P-A0304
JAN 17

U.S. DEPARTMENT. OF JUSTICE

Name of Inmate: WELCH, Eric

the reporting officers
hearing; all shows you

vi. SANCTION OR ACTI
CODE: 3284

DISCIPLINE HEARING ( OFFICER REPORT

FEDERAL BUREAU PRISONS

aber

| Reg. No.: 10444-089 [ Hearing Date: 6-21-2019

documented report and your admission of sending her money during the
committed the prohibited act.

 

P TAKEN (List each prohibited act with respective sanctions for that act):

30 DAYS LOSS OF COMMISSARY
30 DAYS LOSS OF VISI7s|

VII. REASON FOR EACH
326A
Giving or accepting moi

maintain a safe and se

DHO were taken to expre

infraction, privileges

VIII. APPEAL RIGHTS:
action and reasons for
within 20 calendar day:
given to the iamate.

IX.

x

Discipline Heari

SANCTION OR ACTION TAKEN:

ney or anything of value in a correctional setting hampers staff's ability to
sure institution for other inmates and staff. The sanctions imposed by the
bss the seriousness of the infraction. Although not directly related to the
were taken to deter the inmate from this behavior in the future.

The inmate has been advised of the findings, specific evidence relied on

The inmate has been advised of the right to appeal this action

the action.
A copy of this report has heen

Ss under the Administrative Remedy Procedure.

ng Officer

 

Printed Name

8S. Wallace

Date

(,-aHu-4

Signature

Q lable

 

 

 

DHO report delivered t

“SB.

Printed Name (Staff}

9 Inmate by:

C C =_. badbt by Solan
Signature: Date and Time:

Prescribed by P5270 Replaces BP-A0304 of AUG 11

 

Exhibit E: DHO REPORT
Casg 3:19-cv-01344-SMY Document 1-1 Filed 12/10/19 Page 32 0f 41 Page ID #41

    
 

BP-A0288 INCIDENT REPORT

JAN 17

U.S. DEPARTMIENT OF JUSTICE FEDERAL BUREAU OF PRISONS

 
     

Part I - Incident Report

1. Institution: use Marion incident Report Number: 324 S44 A

 

 

 

 

2. Inmate’s ame 3. Register Number 4. Date of Incident 5. Time
Welch, Eric 10444-089 May 2, 2019 10:00-am

6. Place of Incident 7. Assignment 8. Unit

B-Unit CBL 3 B-Unit-East-Byram

 

 

 

9. Incident 10. Prohibited Act Code(s)

Giving money to, or receiving money from, any person for the purpose of =| 217 A
any other prohibited purpose.

11. Description of Incident (Date: 5/13/2019 Time: 11:15 am Staff became aware of incident)
Between May 12, 2019 and May 13, 2019, the SIS Office conducted a review of the financial transactions of inmates Kammeyer, James, Reg. No..203 18-081, and
Welch, Eric, Reg. No. 10444-089. During the course of this review the following was discovered: On May 2, 2019, inmate Welch sent $110.00 to Ms. Jeannie
Krankendonk of Bluffdate, Utah. Ms. Krankendonk appears on the visiting list of inmate Kammeyer, and is listed as his sister. On May 12, 2019, at approximately
7:16 pm and 7:20 pm, respectively, inmates Welch and Kammeyer were interviewed in the LT's Office. Welch submitted 2 written statement that Ms. Krankendonk
was a member of the Orthodox Church who performs charity work for “St. Marks", nnd that he met her through a volunteer who visited USP Marion several years __
“ao. “He statéd that bitsed ou her charity work, hy “decided’'to givé a donayion”. In thisstatement he also clalined to tiave only Pécently discovered Ms. Krankendonk
was related to an inmate at USP Marion. During the second interview, inmate Kammeyer stated that he had recently given the name anil address of bis sister to
inmate Welch, so that inmate Welch could send him money to assist him In paying legal fees for an ongoing court-case. A subsequent review of inmate Kammeyer
emails revealed that he both sent and received several emails from Ms. Krankendonk regarding the money transaction. Of note were the following;.On April 29,
2019, Kammeyer sent the following, “Afp frlends name is Eric. I'm not sure how much he ts going to send, but said he will send it out soon, now that he has your address.
On May 9, 2019, Ms. Krankendonk sent the following, "/ got a check from Eric today in the nil, Ie.says at the bottom, “Happy St. Mark's Day, Jimmy Jr..." not sure
what that means, really. { will have to-go online and send the money to you tonight or if 1 can't get to it, L will do it when I get home on Sunday night, Who is this friend,
anyways? I feel like I asked, but don't recall you tell igen is. Awesome of him to do this to help you, whoever ke is.” And finally on May 13, 2019, Kammeyer seat

 

 

“guess that having my friend send you money was agaipgf the rules... guess it is against the rutes for inmates to help each other out financially, even if it is for legal stuff.”

 

 

 

 

 

 

 

12. Typed Name/Signature of Report : : 13.Date And Time:
M. McAlister, SIS Lieutenant. j 5/13/2019 3:20 pm
14. Incident Report Delivered toAbove Inmate By 15 .Date Incident Report Delivered: 16. Time Incident Report Delivered:
(Type vamerSionainvel. ™ - -
~ AG 25
Aucoin 3 So 5 13 \A 4
* Part II - Committee Action

 

47. Comments of Inmate to Committee Regarding Above Incident:

 

 

 

 

 

18. A. It is the finding of the committee that you: B. ___ The Committee is referring the
Charge(s) to the DHO for further
Committed the Prohibited Act aS charged. Hearing.
Did not Commit a Prohibited Act. €. _____ The Committee advised the inmate of
Committed Prohibited Act Code(s). its finding and of the right to file
an appeal within 20 calendar days.

 

19. Committee Decision is Based on Specific Evidence.as Follows:

 

 

 

 

20. Committee action and/or recommendation if referred to DHO (Contingent upon DHO finding inmate committed prohibited act):

 

 

 

21. Date and Time of Action: (The UDC Chairman's signature certifies who sat’on the UDC and that the completed report
accurately reflects the UDC proceedings). .

 

 

 

Chairman (Typed Name/Signature) Member (Typed Name) Member (Typed Name)

 

Exhibit F: INCIDENT REPORT
Case 3:19-cv-01344-SMY Document 1-1 Filed 12/10/19 Page 33 0f41 Page ID #42

Joint Verified Statement
of James Kammeyer and Eric Welch

1. This joint testimony responds to Incident Report 3255949 and 3255950
(Welch and Kammeyer, respectively).

2. The two Incident Reports are identical. They allege we committed
Prohibited Act Code 217A (Attempted giving money to, or receiving money
from, any person for the purpose of any other prohibited purpose.)

The basis is “on May 2, 2019, inmate Welch sent $110.00 to Ms. Jeannie
Krankendonk of Bluffdale, Utah." She is the sister of inmate Kammeyer. It
‘continues that “Welch submitted written statement that Ms. Krankendonk was
a member of the Orthodox Church,” performed charity work and he met her
through a volunteer who visited USP Marion several years ago and "gave a
donation". Welch claimed to only recently discover Ms. Krankendonk was
rejated to an inmate at USP Marion, and the report writer (Huggins) agrees
that Kammeyer recently gave her contact information to Welch "so that Welch
could send him money to assist him in paying legal fees for an ongoing
court case." ‘The report finishes with a summary of emails between Kammeyer
and his sister, and concludes with “guess that having my friend send you
money was against the rules ... guess it is against the rules for inmates
to help each other out financially, even if it ts for legal stuff." Ms.
Krankendonk was confused by this and has since complied with this new

information.

3. Kammeyer states "I arrived at Marion about 2-4 years ago, right about
the time the volunteers that used to come in to Marion stopped coming in.
Mr. Welch simply overheard me talking to another person about my family and
thier characteristics, Tike any church gathering would. Any inaccuracy on
his part was simply memory loss or conflating things over time. This was at
the Orthodox service to which Mr. Welch referred."

Exhibit G: MAY 15, JOINT
VERIFIED STATEMENT OF INMATES
KAMMEYER AND WELCH

 
Case 3:19-cv-01344-SMY Document 1-1 Filed 12/10/19 Page 340f41 Page ID #43

4. Mr. Welch states "I submitted a written statement to Mr. Huggins on
Sunday, May 12 at 7 p.m. or so and the following day I clarified I heard of
her a couple (not several) years ago, and only recently obtained her
contact information. I submitted an updated, more thoughtful response of
four pages on May 13, 2019." There was no intent to deceive Mr. Huggins.

5. The Report is incorrect as to May 2, 2019 being the date. The BP-199
was generated on Sunday, April 28 (see attached}. The Report also
incorrectly records the information + shared with Huggins about "St.
Marks". The BP199 lacked the Case No. of the lawsuit because it had not
been assigned one yet. So, in order to keep track of what it was for,
April 25 is the feast of St. Mark, the day the lawsuit was filed by Prison
Mailbox Rule, while "dimmy Jr." referred to the lead plaintiff (Welch is a

plaintiff member of a class of all inmates at USP Marion.) See, James
_ Kammeyer, Jr., and All Inmates at U.S.P. Marion, vs. William True (Warden),

D. Stickles (Captain), Daniel Huggins (S.I.S.), United States of America,
S.D. Illinois, Case No. 3:19-cv~-454, Judge Phil Gilbert.

- 6. Any “church" reference involving "St. Marks" means the "gathering" of
individuais placing their hopes in restorative justice on the feast day of
the Patron Saint of Notaries (i.e. sworn signatures). A quick review of
the docket demonstrates 15 affidavits or so. Despite his prior experience
as the Religious Services Secretary, Mr. Huggins missed the reference, and
grossly mischaracterized the facts, even after Welch explained it to him.

7. WITNESSES: During April and May of 2019, witnesses Thomas Attebury
(64284~097) and Carlton Miller (42116-044), expertenced first-hand
knowledge of the following:

a. As inmates who submitted affidavits in the lawsuit, they (and Mr.
Welch) are plaintiffs with every right to forward money to the

S.D. of [llinois;

Exhibit G: MAY 15, JOINT

 

VERIFIED STATEMENT OF INMATES
KAMMEYER AND WELCH
Case 3:19-cv-01344-SMY Document 1-1 Filed 12/10/19 Page 35 o0f41 Page ID #44

b. That WELCH shared his thoughts and beliefs based on the knowledge
available to him at the time that Mrs. Jeannie Kranendonk was
going to mail the money WELCH sent her directly to the Court, and

not Mr. Kammeyer;

c. WELCH was not aware until after he sent in the BP-199 that the
lawsuit filing fee had already been paid in full, and Mr. Kammeyer
mistakenly told his sister to send any money to him.

d. Based on their personal knowledge of Mr. Kammeyer, he had been
suffering severe pain and disorientation due to a combined
effect of a FLU as well as Chrohns disease. It is their sincere
belief that when talking to his sister, he was simply “spaced out"
and not thinking straight and uinintentionally or forgetfully
told her to send the money to him.

e. That given the facts they personally can attest to, Mr. Kammeyer's
Incident Report should be dismissed or reduced; and

f. That given the facts they personally attest to, Mr. Welch's
Incident Report should be dismissed entirely.

8. THE NECESSARY ELEMENTS OF AN "ATTEMPT"

An “attempt" is a type of “inchoate,” or “incomplete” crime. It has
‘two elements: Intent, and (to use the language of the Model Penai Code), a
Substantial Step. M.P.C. § 5.01. And “intent” means "purposeful" or
“knowing”. The M.P.C, as well as federal Jaw reject such lower intent as
"reckless" and "negligent." Reckless or negligent mental states don't cut it.

The burden of proof at bar is by a "preponderance of the evidence."
This means the “superiority in weight, importance, or influence", or that
which has the most convincing force. Although not sufficient to free the
mind wholly from all reasonable doubt, is still sufficient to incline a
fair and impartial mind to one side of the issue rather than the other.
(Black's Law Dictionary, Ninth Ed., 2009.)

An inference is not evidence. Here, Mr. Huggins agreed in person
that he never asked Welch WHY he sent the money; only WHO he sent it to,

WHAT and HOW much he sent (or THAT he did). There is also no note, letter,
or phone call from Welch concerning his intent.. As such, 5.1.5. is jeft with
Kammeyer's email and phone messages. These are evidence, to be sure, but

Exhibit G: MAY 15, JOINT
VERIFIED STATEMENT OF INMATES
KAMMEYER AND WELCH
Case 3:19-cv-01344-SMY Document 1-1 Filed 12/10/19 Page 36 of 41 Page ID #45

only of Kammeyer's state of mind, not Welch's. Either Huggins or McAlister
have to infer intent for Welch. But an inference is not evidence. An
inference comes into play when asking what level of state of mind of intent

existed? “Purposeful,” “Knowing,” "Reckless," or "Negligent?" The

Incident Report does not say. Lack of intent is insufficient to sustain an "attempt.

In Kammeyer's case, there is evidence of intent. But what level?
There is evidence of “reckless,” or “negligent” for a couple of reasons.
(1) Witnesses have him as acting listless, disoriented, and in pain due to
the FLU and Chrohns diséase during the time period in question; (2)
Huggins..may confirm Kammeyer could barely talk and could not read anything
when he picked up his shot on May 13; and Welch saw him in the hallway
afterward and noted his "frog voice;" and (3) Welch's statements to
Huggins (in written form on May 13), clearly indicate his purposeful intent
was to have the money sent to the Court, not to Kammeyer.

Certain witnesses with nothing to gain or lose are saying under oath
that Mr. Welch's version of the facts are correct. The Incident Report and
its accomanying documents contain misleading information, admittedly based
in part on a lack of knowledge about the lawsuit and that any plaintiff is
always permitted to send money to the Court (not a prohibited act).

The greater weight of the evidence supports a finding that Mr. Welch
did not commit a prohibited act. Further, the evidence suggests that
Kammeyer lackéd the requisite level of intent under any standard of proof
to be guilty of an “attempt” due to his state of mind, and should be found
that he did not commit a prohibited act, or at most committed a less severe
(i.e. 300 or 400 series) act.

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Vay (5,209 /s/ Zo (4 LAL ——

Date Ekecuted y Eric D7 Welch A10444-089)

a ji: . a L’ eee

tis I AG Is|_ gee AL eee
Date. Executed / vanes R. Kammeyer (20118-081)
Under penalty of perjury pursuant to 28 U.S.C. § 1746, “we hereby swear and verify that the foregoing
is true and correct as an affidavit to the best of our knowledge, information, and belief formed

after meaningful inquiry.

 

4 Exhibit G: MAY 15, JOINT
VERIFIED STATEMENT OF INMATES
KAMMEYER AND WELCH

 
Case 3:19-cv-01344-SMY Document 1-1 Filed 12/10/19 Page 37 of 41 Page ID #46

Verified Statement of THOMAS ATTEBURY (64284-097)

1. During the months of April and May 2019, immediately after the Warden-caused
institutional lock-down, all inmates at USP-Marion filed a lawswit under the
Eighth Amendment's “cruel and unusual punishments” clause for staff-instigated
violence and vigilantism that caused several inmates to suffer vicious assaults.
See, James Kammeyer, Jxc., and All Inmates at U.S.P. Marion, vs. William True
(Warden), D. Stickles (Captain), Daniel Huggins (S.I.S), United States of
America, §.D. Illinois, Case No. 3:19-cv-454, Judge Phil Gilbert.

2. I am aware of incident report 3255949 (WELCH, 10444-089), and 3255950 (KAMMEYER),
concerning Prohibited Act Code 217A (attempt) “Giving money to, or receiving
money from, any person for the purpose of any other prohibited purpose.” They
each shared this with me on 5/14/19.

3. I personally overheard evidence or understood in belief in April and May 2019
certain truth that exonerates WELCH:

a) WELCH had every right to pay $110 to the court fee,

pt >) WELCH thought and believed based on all the knowledge available to him at
# Je the time that Mrs” Kranendonk was going to mail the money WELCH sent her
directly to the Court, and not to inmate Kammeyer.

c) Welch is a plaintiff and witness (as I am as well), with full legal rights
permitting him to contribute to the lawsuit; and

d) WELCH was not aware until after he sent it that the court fee had already
been paid, and Kammeyer mistakenly told her to send any money to him.

4. Based on my own personal knowledge of KAMMEYER, he has been suffering severe pain
and disorientation due to a combined effect of a FLU as well as Chrohns disease.
It is my sincere belief that when talking to his sister, he was simply not
thinking straight and unintentionally told her to send the money to him. He
should have his incident report expunged or lower-severity.

4 may 2019 (s| LEB Ire _lo a 92.
Date Executed THOMAS ATTEBURY (64284-097)

Under penalty of perjury pursuant to

28 U.S.C. § 1746, I hereby swear and verify

that the foregoing is true and correct as an affidavit,
to the best of my knowledge, information, and belief

formed after meaningful inquiry.

 

 

 

 

Witnessed by: ; .
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they Ch 2itG  Js/ Coe. eet nee
Date Executed ee D. - ras (104aa- 089)
5 i yy - WO ht /s/ Lp i KL a~ Cee
Date Executed Lf James R. fameyen ee ~081)

Exhibit H: MAY 14, VERIFIED
STATEMENT OF INMATE THOMAS
ATTEBURY
Case 3:19-cv-01344-SMY Document 1-1 Filed 12/10/19 Pagé 38 of 41 Page ID #47

Verified Statement of CARLTON MILLER (42116-044)

1. During the months of April and May 2019, immediately after the Warden-caused
institutional lock-down, all inmates at USP-Marion filed a lawsuit under the
Eighth Amendment's cruel and unusual punishments clause, for staff-instigated
violence and vigilantism that caused several inmates to suffer vicious assaults.
See, James Kammeyer, Jr., and All Inmates at U.S.P. Marion, vs, William True
(Warden), D. Stickles (Captain), Daniel Huggins (S.1I.S), United States of
America, §.D. Illinois, Case No. 3:19-cv-454, Judge Phil Gilbert.

2. I am aware of incident report 3255949 (WELCH, 10444-089) , and 3255950 (KAMMEYER),
concerning Prohibited Act Code 217A (attempt) (Giving money to, or receiving
money from, any person for the purpose of any other prohibited purpose.) They
each shared this with me on 5/14/19.

3. I personally overheard evidence or understood in belief in April and May 2019
certain truth that exonerates WELCH:

a) WELCH had every right to pay $110 to the court fee,

b) WELCH thought and believed based on all the knowledge available to him at
the time that Mrs. Jeannie Kranendonk was going to mail the money WELCH
gent her directly to the Court, and not to inmate Kammeyer.

¢) Welch is a plaintiff and witness (as I am as well), with full legal rights
permitting him to contribute to the lawsuit; and

d) WELCH was not aware until after he sent it that the court fee had already
been paid, and Kammeyer mistakenly told her to send any money to him.

4. Based on my own personal knowledge of KAMMEYER, he has been suffering severe pain
and disorientation due to a combined effect of a FLU as well as Chrohns disease.
It is my sincere belief that when talking to his sister, he was simply not
thinking straight and unintentionally told her to send the money to him. He
should have his incident report orpunged or lower-severity.

 

Sf uf 4 /s/ LiL?
Date Executed - CARLTON MILLER (42116-044)

Under penalty of perjury pursuant to

28 U.S.C. § 1746, I hereby swear and verify

that the foregoing is true and correct as an affidavit,
to the best of my knowledge, information, and belief

formed after meaningful inquiry.

 

 

Witnessed by: j /
\
Poe LS. cel /3/ Bi LL) —

Date Executed Erig D. Welch (10444-089)
Mey iS, 2084 pkg

Date Executed James R. Kammeyer (20118-081)

Exhibit I: MAY 15, VERIFIED
STATEMENT OF INMATE CARLTON
MILLER

 
Case 3:19-cv-01344-SMY Document 1-1 Filed 12/10/19 Page 39 0f41 Page ID #48

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TRULINCS 10444089 - WELCH, ERIC DEXTER - Unit: MAR-B-A

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FROM: 10444089

TO: Recreation

SUBJECT: ***Request to Staff** WELCH, ERIC, Reg# 10444089, MAR-B-A
DATE: 05/19/2019 01:11:54 PM

To: Mr. Wallace
Inmate Work Assignment: UNICOR

Mr. Wallace,

| am writing with the intent of following up with the rest of this, as It does not have the ability save. | understand you are stift
doing DHO up front due to letting your foot heal up. | hope that is going well.

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My question:
Does pocr communication create a money-laundering conspiracy?

it would seem that according to SIS it does. | had a UDC “hearing” with Mr. J. David and Mr. Thompson on Wednesday May
15, Inso many words, they both instructed me that DHO is a rubber-stamp kangaroo court. It could be that they were just
being assholes, or it it could be a combination of both. Bantering on, they indicated it does not matter what evidence and
context and witnesses say, it will be affirmed. | said “alright, but here is my statement.” They would not take my statement,
which is a “Joint Verified Statement of James Kammeyer and Eric Welch". It was only four pages and I'll drop it in the
institution's intraoffice mailbox. t asked him to Just write “see attached” on the shot, but he didn't. He paraphrased something.

Anyway, and on the cantrary, poor communication did not create a money-laundering conspiracy worthy of a 217A Prohibited
Act.

1. This joint testimony responds to incident Report 32355949 and 3255950 (Welch and Kammeyer, respectively).

2. The tow Incident Reports are identical. They allege we committed Prohibited Act Code 217A (Attempted, giving money to,
or recelving money from, and person for the purpose of any other prohibited purpose.) [side note, "purpose" is the same as
“intent” and "attempt" is made of an “intent” and a "substantial step" (see below).]

The basis is "on May.2, 2019, inmate Welch sent $110.00 to Ms. Jeannie Krankendonk [sic] of Bluffdale, Utah.” She is the
sister of Inmate Kammeyer. It continues that "Welch submitted written statement that Ms. Krnakendonk jsic] was a member of
the Orthodox Church," performed charity work and he met her through a volunteer who visited USP Marion several years ago
and "gave a donation.” Welch claimed to only recently discover Ms. Krankendocnk [sic] was related to an inmate at USP
Marlon, and the report writer (Huggins/McCalister) agrees that Kamimeyer recently gave her contact information to Welch "so
that Welch could send him money to assist him in paying legal fees for an ongoing court case." The report finishes with a
summary of emails between Kammeyer and his sister, and concludes with "guess that having my friend send you money was
against the rules ... guess it is against the rules for inmates to help each other out financially, even if itis for legal stuff." Ms.
Kranendonk was confused by this and has since complied with this new information.

3. Kammeyer states: "I arrived at Marion about 2-1/2 years ago, right about the time the volunteers that used to come in to
Marion stopped coming in. Mr. Welch simply overheard me talking to another person about my famity and their characteristics,
like any church gathering would. Any Inaccuracy on his part was imply memory loss or conflating things dver time. This was at
the Orthodox service to which Mr. Welch referred."

4. Mr. Welch states: “I submitted a written statement to Mr. Huggins op Sunday, May 12 at 7 p.m. or so (completely surprised
that | had to do so. | was just finishing watching 60 Minutes], and the following day | clarified | heard OF her a COUPLE (not
several) years ago, and only recently obtained her contact information. | submitted an updated, more thoughtful response of
four pages on May 13, 2019." There was no intent to deceive Mr. Huggins.

5. The Incident Report is incorrect as to May 2, 2019 being the date. The BP-199 was generated on Sunday, April 28. The
Report also incorrectly records the information -- shared with Huggins about “St. Marks>" The BP-199 lacked the Case Number
of the lawsuit because it had not been assigned on yet. So, in order to keep track of what it was for, April 25 Is the feast o St..
Mar, the day the lawsuit was filed by Prison Mailbox Rule, while “Jimmy R." referred to the lead plaintiff (Welch is a plaintiff
member of a class of all inmates at USP Marion.) See, James Kammeyer, Jr., and All Inmates at U.S.P. Marion, vs. William
True (Warden), D. Stickles (Ca[ptain), Danie! Huggins (S.1.S.), United States of America, S.D. Illinois, Case No. 3:19-cv-454,

Exhibit J: MAY 19, EMAIL FROM
WELCH TO DHO OFFICER WALLACE
Case 3:19-cv-01344-SMY Document 1-1 Filed 12/10/19 Page 40 of 41 Page ID #49

TRULINCS 10444089 - WELCH, ERIC DEXTER - Unit: MAR-B-A

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Judge Phil Gilbert.

6. Any "church" reference involving "St. Mars" means the "gathering" of Individuals placing their hopes in restorative justice on
the feast day of the Patron Saint of Notaries (i.e. swom signatures). A quick review of the docket demonstrates 15 affidavits or
so. Despite his prior experience as the Religious Services Secretary, Mr. Huggins missed the reference, and mischaracterized
the facts, even after Welch explained it to him verbally on Sunday, May 12.

7, WITNESSES: During April and May of 2019, witnesses Thomas Attebury (64284-097) and Carlton Miller (42116-044),
experienced first-hand knowledge of the following:

a. As inmates who submitted affidavits in the lawsuit, they (and Mr. Welch) are plaintiffs with every right to forward money to
the S.D. of Illinois; ~

b. That WELCH shared his thoughts and beliefs based on the knowledge available to him at the time that Mrs. Jeannie
Kranendonk was going to mail the money WELCH sent her directly to the Court, and not Mr. Kammeyer;

c. WELCH was not aware until after he sent in the BP-199 that the lawsuit filing fee had already been paid in full, and Mr.
Kammeyer mistakenly told his sister to send any money to him.

d. Based on their personal knowledge of Mr. Kammeyer, he had been suffering severe pain and disorientation due to a
combined effect of a FLU as well as Chrohns disease [and had suffered a panic attack while at Psychology Services]. It is their
sincere belief that when talking to his sister, he was simply "spaced out" and not thinking straight and unintentionally or
forgetfully told her to send the money to him.

e. That given the facts they personally can attest to, Mr. kammeyer’s Incident Report should be dismissed or reduced; and
f, That given the fact they personaily attest to, Mr. Welch's Incident Report should be dismissed entirely.

[Side Note: Mr. Kammeyer has been seeing Dr. Novatne about these issues and has recently made contact with Dr. Meinke as
well, re is expected to request corroborating evidence about his mental state at the time of the events sometime after this
week]. ¥

8. The Necessary Elements of an "Attempt"

An “attempt’ is a type of “inchoate,” or “incomplete” crime. It has TWO elements: Intent, and a Substantial Step (to use the
language of the Model Penal Code, Section 5). And “intent" means “purposeful” or "knowing" In fact, the Incident report uses
the word “purpose” twice in the prohibited act section.

The MPS as well as federal law reject such lower intent as “reckless or “negligent”. Reckless or negligent mental states don't
cu the mustard. This is likely why the Policy allows for a Psychological determination to mitigate or eliminate an inmates
culpability.

{to be continued)...

Exhibit J: MAY 19, EMAIL FROM
WELCH TO DHO OFFICER WALLACE
Case 3:19-cv-01344-SMY Document 1-1 Filed 12/10/19 Page 41 0f 41 Page ID #50

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TRULINCS 10444089 - WELCH, ERIC DEXTER - Unit: MAR-B-A

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cee e we wen econ crew swe ewe cen cence ane ne needa na crane enannens see cnncnnowsnonnerarases ae esse ORS e RO ee ES

FROM: 10444089

TO: Recreation
SUBJECT: **Request to Staff** WELCH, ERIC, Reg# 10444089, MAR-B-A

DATE: 05/20/2019 06:45:26 AM

To: Mr. Wallace
inmate Work Assignment UNICOR

continued from yesterday's email:

An inference is not evidence. Here, Mr. Huggins agreed in person that he never asked Welch WHY he sent eh money; only
WHO he sent it to, WHAT and HOW much he sent (or THAT he did). There is also no note, letter, or phone call from Welch
concerning his intent (i.e. "purpose" to use the Incident Report's language). As such, S.I.S. Is left with Kammeyer's email and
phone messages. These are evidence, to be sure, but only of Kammeyer's state of mind, not Welch's. Either Huggins or
McAlister have to infer Intent from Welch and assume Kammeyer's state of mind about Welch first.

But an inference is not evidence. An inference comes into play when asking what level of state of mind of intent (purpose)
existed? “Purposeful," (the language of the shot), "Knowing," “reckless,’ or “negligent?” The incident report does not say (or
only infers "purpose"). Lack of Intent is insufficient to sustain an “attempt.”

In Kammeyer's case, there is evidence of intent. But what level? There is evidence of “reckless,” or "negligent” for a couple of
reasons. :

(1) Witnesses with no skin in the game (nothing to gain or lose) have him as acting listless, disoriented, and in pain due lo the
FLU and Chrohns disease (and his doctors may attest to contemporaneous panic attacks), during the time period in question;
(2) Huggins may confirm Kammeyer could barely talk and could not read anything when he picked up his shot on May 13; and
Welch saw him in the hallway afterward and noted his “frog voice;* and (3) Welch's statements to Huggins (in written form on
May 13 and following), clearly indicate his purposeful intent was to have the money sent to the Court, not to Kammeyer (due

Welch's status as class ptaintiff).

Certain witnesses are saying under oath (and without being coerced or coaxed), that Mr. Welch's version of the facts are
correct. Although mostly correct on the facts it does contain, the Incident Report and its accompanying documents contain
misteading information, admittedly based on a lack of knowledge. about the lawsuit and that any plaintiff is always permitted to
send money to the Court (i.e. not a “prohibited purpose" or “act”).

The greater weight of the evidence supports a finding that Mr. Welch did not commit a prohibited act. Further, the evidence
suggests that Kammeyer lacked the requisite level of intent under any standard of proof to be gullty of an “attempt” due to his
state of mind, and should be found that he did not commit a prohibited act (or at MOST a 328A, not a 217A).

Thank you for your time and patience.

Poor communication on our part did not create a money-iaundering conspiracy. We were simply two plaintiff's out of 1,000 that
were trying to get our money to the court due to the serious nature of the issues contained there.

Respectfully,
Eric Welch

Exhibit J: MAY 19, EMAIL FROM
WELCH TO DHO OFFICER WALLACE
